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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                          EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,           )    1:08-CR-0212 OWW
                                         )
12                    Plaintiff,         )    ORDER RE: GOVERNMENT'S RULE
                                         )    404(b) FINANCIAL MOTIVE
13        v.                             )    EVIDENCE
                                         )
14   SUKHRAJ DHALIWAL,                   )
                                         )
15                    Defendant.         )
                                         )
16                                       )

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18        Having considered the government’s notice of its intention to

19   introduce Rule 404(b) evidence of defendant Sukhraj Dhaliwal’s

20   financial indebtedness and financial motive to enter a drug

21   conspiracy, and having considered the argument of counsel on June

22   5, 2009,

23        IT IS THE ORDER OF THE COURT that such evidence is

24   admissible for the reasons stated in open court.
     IT IS SO ORDERED.
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     Dated: June 11, 2009                   /s/ Oliver W. Wanger
26   emm0d6                            UNITED STATES DISTRICT JUDGE

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